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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA



CHERYL LYNNE HIGHWART,               Case No. 2:19-cv-10052-SK
                 Plaintiff,          JUDGMENT
            v.
ANDREW SAUL,
Commissioner of Social Security,
                 Defendant.



     IT IS ADJUDGED that this action is reversed and remanded for
further proceedings pursuant to Sentence Four of 42 U.S.C. § 405(g) and
consistent with the accompanying Opinion and Order.


Date: November 5, 2020             ___________________________
                                   HON. STEVE KIM
                                   U.S. MAGISTRATE JUDGE
